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                                                                                                      U.S. DISTRICT COURT
                                                                                                          N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 WESTERN DIVISION

ALICE GRAY; SHERRY MOSS; MICHAEL                  )
DOZIER-BLAIR; JOSEPH POWELL;                      )
JANELLE BLACK AND OTHER                           )
PLAINTIFFS IDENTIFIED IN EXHIBIT “A”              )
ATTACHED HERETO AND                               )
 INCORPORATED FULLY HEREIN,                       )
                                                  )
            Plaintiffs,                           )
                                                  )
                                                  )       Civil Action No: 7:06-CV-01538-LSC
            vs-                                   )
                                                  )        TRIAL BY JURY REQUESTED
DOLGENCORP, INC.; DOLGENCORP OF                   )
NEW YORK; DOLGENCORP OF TEXAS                     )
AND DOLLAR GENERAL PARTNERS,                      )
                                                  )
                                                  )
                                                  )
            Defendants.                           )



                               FIRST AMENDED COMPLAINT



            COME NOW, Plaintiffs, Alice Gray, Sherry Moss, Michaela Dozier-Blair, Joseph

     Powell; Janelle Black and other Plaintiffs identified in Exhibit “A” attached hereto and fully

     incorporated and amends their Complaint, individually, with each representing their own interest,

     against the Defendants, Dolgencorp, Inc.; Dolgencorp of New York; Dolgencorp of Texas and

     Dollar General Partners, pursuant to §216(b) of the Fair Labor Standards Act (hereinafter

     “FLSA”) and for this cause of action states the following:

            1.      Defendants Dolgencorp, Inc.; Dolgencorp of New York; Dolgencorp of Texas and

     Dollar General Partners are corporations conducting business in the State of Alabama and



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approximately 8000 locations throughout the United States.

       2.       Plaintiffs, Alice Gray, Michaela Dozier-Blair, Sherry Moss, Joseph Powell and

Janelle Black currently reside in Tuscaloosa County, Alabama.

       3.       At all times material to this action, the Plaintiff, Alice Gray was employed by

Defendants at its store #07854; Plaintiff, Sherry Moss was employed by Defendants at its store

#02915; Plaintiff, Michaela Dozier-Blair was employed by Defendants at its stores #01788;

#04320; #03501; #01820 and #03570; Joseph Powell was employed by Defendants at its stores

#04157 and #08921; Janelle Black was employed by Defendants at its store #01075.

       4.       This action is brought pursuant to the FLSA, 29 U.S.C §201 et seq. to remedy

violations of the wage provisions of the FLSA by Defendants which has deprived Plaintiffs of

lawful wages.

       5.       This action is brought to recover unpaid overtime compensation owed to Plaintiffs

pursuant to FLSA. For at least three years prior to filing this complaint, Defendants have had

uniform policy and practice of consistently requiring its alleged “managerial” employees to work

60-90 per week for a salaried amount without overtime compensation. The alleged managerial

employees, including Plaintiffs, perform managerial duties approximately 5-10 hours per week.

The remainder of their time is spent performing non-managerial functions, including, but not

limited to, running the registers, stocking merchandise and janitorial duties. The Plaintiffs were

paid a specified weekly salary. The Plaintiffs were not paid any overtime compensation despite

the fact that they worked 20-50 hours a week over the required 40 hours and that the vast

majority of their hours were spent performing non-managerial job duties. The Plaintiffs seek

overtime compensation, an equal amount of liquidated damages, interest, attorneys’ fees, and

costs pursuant to 20 U.S.C. §201, et seq.




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       6.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1331. Venue is proper in the Northern District of Alabama under 28 U.S.C §1391(b). This

Court also has jurisdiction pursuant to the MultiDistrict Litigation Statute.

       7.      Defendants are subject to personal jurisdiction in the State of Alabama for the

purpose of this lawsuit.

       8.      At all times material to this action, Defendants are an enterprise engaged in

commerce or in the production of goods for commerce as defined by §203(s)(1) of the FLSA.

       9.      At all times relevant to this action, Defendants were “employers” of Plaintiffs as

defined by §203(d) of the FLSA.

       10.     At all times material to this action, the Plaintiffs were “employees” of Defendants

as defined by §203(e)(1) of the FLSA, and worked for Defendants within the territory of the

United States within three years preceding the filing of this lawsuit.

       11.     The provisions set forth in §§206 and 207, respectively, of the FLSA, apply to

Defendants and Plaintiffs and they were covered by §§206 and 207 of the FLSA while Plaintiffs

were employed by Defendants.

       12.     At all times relevant to this action, Defendants employed Plaintiffs in the capacity

of store managers.

       13.     The services performed by Plaintiffs were a necessary and integral part of and

directly essential to Defendants’ business.

       14.     The Plaintiffs were required to perform both managerial and non-managerial

duties without overtime compensation.

       15.     Defendants have intentionally failed and/or refused to pay the Plaintiffs

managerial salary/rates according to the provisions of the FLSA.




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          16.    The systems, practices and duties of the Plaintiffs have existed for at least three

years throughout the Defendants’ business.

          17.    For at least three years, the Defendants have been aware of the requirements of

the FLSA and its corresponding regulations necessary to provide managerial employees with

overtime compensation. Despite this knowledge, the Defendants have failed to pay its

managerial employees the mandatory lawful overtime compensation to conform the duties of

these employees to the requirements of the FLSA.

          18.    Defendants have further engaged in widespread pattern and practice of violating

the provisions of FLSA by failing to pay Plaintiffs in accordance with §207 of the FLSA.

          19.    As a result of Defendants’ violations of the FLSA, the Plaintiffs have suffered

damages by failing to receive managerial compensation in accordance with §207 of the FLSA.

          20.    In addition to the amount of unpaid wages and benefits owing to the Plaintiffs

they are also entitled to recover an additional amount as liquidated damages pursuant to 29

U.S.C. §216(b) and prejudgment interest.

          21.    Defendants’ actions in failing to compensate the Plaintiffs is in violation of the

FLSA, and is a willful act.

          22.    Defendants have not made a good faith effort to comply with the FLSA.

          23.    The Plaintiffs are entitled to an award of attorney’s fees pursuant to 29 U.S.C.

§2016, et seq.

          WHEREFORE, the Plaintiffs pursuant to §201 of the FLSA, pray for the following

relief:

          24.    The Plaintiffs be awarded damages in the amount of their respective unpaid

compensation and benefits, plus an equal amount of liquidated damages pursuant to 29 U.S.C.




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     §216(b), and/or prejudgment interest;

            25.      Plaintiffs’ reasonable attorneys’ fees, including the costs and expenses of this

     action; and

            26.      Such other legal and equitable relief including, but not limited to, any injunctive

     and/or declaratory relief, to which they may be entitled.

            27.      Plaintiffs further demand a struck jury to try the issues raised in this matter.


                                    /s/ Roman A. Shaul
                                    ____________________________________________
                                    ROMAN A. SHAUL
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                   PLAINTIFFS DEMAND TRIAL BY STRUCK JURY
                     ON ALL ISSUES RELATED TO THIS CAUSE

                                                    /s/ Roman A. Shaul
                                                    ____________________________
                                                    OF COUNSEL




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